           Case 2:17-cv-00445-MRH Document 26 Filed 06/22/17 Page 1 of 3



                                 UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF PENNSYLVANIA

 JOHN EGAN, individually and on behalf of all
 others similarly situated,                                   Case No. 17-cv-445-MRH

                           Plaintiff,

          v.

                                                              Filed Electronically
 LIVE NATION WORLDWIDE, INC.,

                           Defendant.

                                         JOINT NOTICE

        Pursuant to the Court’s June 09, 2017 order, Plaintiff John Egan (“Plaintiff”) and

Defendant Live Nation Worldwide, Inc. (“Defendant”) submit this joint notice and state as follows:

1.      Discovery Required

        A.         Plaintiff

        Plaintiff requires the website environment as it existed during Mr. Egan’s purported 2012

and 2017 visits to Defendant’s website. Specifically, Plaintiff is seeking information to understand

how the website pages were rendered, specific time intervals available on each page and website

navigation, breadcrumbs and accessibility options. Plaintiff seeks access to the site for a period of

fourteen (14) days to review the site in the same configuration, design, website copy and

architecture as it existed during Mr. Egan’s purported 2012 and 2017 visits.

        Plaintiff also requires a 30(b)(6) deposition regarding the website, Defendant’s Terms of

Use and Privacy Policy and the purported formation of a contract between Plaintiff and Defendant.

        B.         Defendant

        If Mr. Egan is disputing that he accessed the webpages and clicked through the Terms of

Use when he set up his account or bought tickets Defendant will need access to the browsing


SMRH:483232161.1                                 -1-
           Case 2:17-cv-00445-MRH Document 26 Filed 06/22/17 Page 2 of 3



history form the device(s) he used to access this web page and / or access to that information

though cloud storage on the dates indicated in our motion where he conducted transactions with

Live Nation / Ticketmaster. Defendant needs to take the depo of Mr. Egan.

2.      Briefing Schedule

        The parties propose the following briefing schedule to complete discovery and brief the

motion to compel:

        1) Complete discovery by August 21, 2017

        2) Defendant to file motion to compel by September 4, 2017;

        3) Plaintiff to file opposition to motion to compel by September 18, 2017; and

        4) Defendant to file reply by September 25, 2017.




SMRH:483232161.1                               -2-
           Case 2:17-cv-00445-MRH Document 26 Filed 06/22/17 Page 3 of 3




 Dated: June 22, 2017                     Dated: June 22, 2017

 Respectfully submitted,                  Respectfully submitted,

 /s/ R. Bruce Carlson                     /s/ Gregory F. Hurley
 R. Bruce Carlson                         Gregory F. Hurley
 Gary F. Lynch                            Michael J. Chilleen
 Kevin Abramowicz                         SHEPPARD MULLIN RICHTER &
 CARLSON LYNCH SWEET KILPELA &            HAMPTON LLP
 CARPENTER, LLP                           650 Town Center Drive, 4th Floor
 1133 Penn Avenue, 5th Floor              Costa Mesa, California 92626
 Pittsburgh, PA 15222                     Telephone: (714) 513-5100
 (412) 322-9243                           Facsimile: (714) 513-5130
 (412) 231-0246                           ghurley@shepparmullin.com
 bcarlson@carlsonlynch.com                mchillen@sheppardmullin.com
 glynch@carlsonlynch.com
 kabramowicz@carlsonlynch.com             James S Malloy
                                          DINGESS, FOSTER, LUCIANA,
 Eve Hill (pro hac vice)                  DAVIDSON, & CHLEBOSKI, LLP
 BROWN GOLDSTEIN LEVY                     PNC Center, Third Floor
 120 E. Baltimore Street, Suite 1700      20 Stanwix Street
 Baltimore, Maryland 21202                Pittsburgh, PA 15222
 Telephone: (410) 962-1030                Telephone: (412) 926-1817
 Facsimile: (410) 385-0869                Facsimile: (412) 926-1801
 ehill@browngold.com                      jmalloy@dfllegal.com

 Attorneys for Plaintiff                  Attorneys for Defendant




SMRH:483232161.1                        -3-
